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                 SUBJECT TO PROTECTIVE ORDER - CONFIDENTIAL



                           IN THE UNITED STATES DISTIUCT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Norfolk Division


  CSX TRANSPORTATION, INC.,
  individually and on behalf of NORFOLK
  & PORTSMOUTH BELT LINE
  RAILROAD COMPANY,

  Plaintiff,

  v.                                                   Civil Action No. 2: 18cv530

 NORFOLK SOUTHERN RAILWAY
 COMPANY, NORFOLK & PORTSMOUTH
 BELT LINE RAILROAD COMP ANY,
 JERRY HALL, THOMAS HURLBUT,
 PHILIP MERILL!, and CANNON MOSS,

                        Defendants.


              PLAINTIFF CSX TRANSPORTATION, INC.'S OBJECTIONS
                        AND RESPONSE TO DEFENDANT
       NORFOLK SOUTHERN RAILWAY COMPANY'S SECOND INTERROGATORIES

          Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Local Rule 26, the ESI

 Order, and the Stipulated Protective Order entered in the above-captioned action, Plaintiff, CSX

 Transportation, Inc. ("CSXT" or "Plaintiff"), by counsel, states as follows for its objections and

 response to Defendant Norfolk Southern Railway Company's ("NSR") Second Interrogatories (the

 "Interrogatories'').

                                   RESERVATION OF RIGHTS

          Plaintiffs objections are based on the facts presently known to Plaintiff based on a good

 faith investigation to respond to NSR's Interrogatories. As discovery progresses, Plaintiff may

 supplement or change its objections to NSR's Interrogatories with any non-privileged information

 as appropriate under the Federal Rules of Civil Procedure and/or the Local Rules of this Court.

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                                  SECOND INTERROGATORIES

   INTERROGATORY NO. 9;

         Describe any and all forms of non-monetary relief you seek in this case. Without limiting

  the generality of this request, include in your answer a description in detail of any forms of relief

  you intend to seek that would, directly or indirectly, affect, set, cap, or control the amount of the

  NPBL Switch Rate or the NSR Trackage Rights Fee.

         OBJECTION; CSXT objects to this Interrogatory to the extent it seeks information

  protected by the attorney/client privilege, work product doctrine, or any other privilege that

  protects against disclosure of such information.

         ANSWER;         Without waiver of its objections, CSXT states that discovery is continuing

  and therefore CSXT is making a preliminary answer. CSXT seeks an order from the Court to

  prevent NSR and NPBL from continuing to carry out any violations of federal or state law,

  including antitrust or business conspiracy. CSXT seeks an order restoring CSXT's shareholder

  rights, and/or establishing an independent board structure of the NPBL. CSXT also seeks an order

  directing NPBL to approve CSXT's Service Proposal.

         Investigation is ongoing, and CSXT reserves the right to supplement and/or amend this

  answer as documents and evidence are provided in discovery in this Action.




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                                     CSX TRANSPORTATION, INC.
                                     By Counsel

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